     Case 20-43507-elm11 Doc 40 Filed 02/04/21              Entered 02/04/21 08:33:19      Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.



Signed February 4, 2021
                                           United States Bankruptcy Judge
______________________________________________________________________



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

         IN RE:                                             §
                                                            §
         Pro-Crete Ready Mix, LLC,                          §   Case No.     20-43507-ELM-11
                                                            §
         Debtor-in-Possession.                              §
                                                            §

            Agreed Order Dismissing Case with Prejudice to Refiling for One Year under
                                 11 U.S.C. §§ 1112(b) and 349(b)


                Came on for hearing, the United States Trustee’s Motion to Dismiss with

         Prejudice to Refiling for One Year under 11 U.S.C. §§ 1112(b) and 349(b) (“Motion”).

         [docket no. 31].     The Court finds that cause exists to grant the relief requested in the

         Motion and that the Debtor agrees to the requested relief. It is therefore

                ORDERED that the above-referenced case shall be DISMISSED with prejudice to

         refiling for one year as of the date of entry of this Order.

                                              ## End of Order ##




                                                                                          Page 1 of 2
Case 20-43507-elm11 Doc 40 Filed 02/04/21         Entered 02/04/21 08:33:19   Page 2 of 2




   Agreed to in form and substance:



   /s/ Eric Liepins (with permission by EMS)
   Eric Liepins, Counsel for Debtor

   /s/ Erin Marie Schmidt
   Erin Marie Schmidt, Counsel for the United States Trustee


   Proposed Form Order Prepared By:

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                                                                              Page 2 of 2
